 Case 2:12-md-02327 Document 1501 Filed 03/18/15 Page 1 of 3 PageID #: 18371




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION

IN RE: ETHICON, INC.
PELVIC REPAIR SYSTEMS
PRODUCTS LIABILITY LITIGATION

                                                                          MDL NO. 2327


THIS DOCUMENT RELATES TO THE CIVIL ACTION NOS. ON THE ATTACHED
EXHIBIT:

                  JOINT MOTION TO DISMISS DEFENDANT
           AMERICAN MEDICAL SYSTEMS, INC. WITHOUT PREJUDICE

       Plaintiffs in the cases listed on the attached Exhibit A and defendant American Medical

Systems, Inc. (“AMS”) jointly move the court to dismiss AMS as a defendant in these actions

without prejudice, and terminate AMS from the docket in these actions, parties to bear their own

costs. Other defendants remain in these actions, and plaintiffs will continue to prosecute their

actions against them.

Respectfully:

/s/ Tracy G. Weiss                                 /s/ Shane F. Langston
Tracy G. Weiss                                     Shane F. Langston
REED SMITH                                         LANGSTON & LANGSTON
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tweiss@reedsmith.com                               Attorney for Plaintiffs on Exhibit A
Attorney for Defendant American Medical
Systems, Inc.

Dated: March 18, 2015
   Case 2:12-md-02327 Document 1501 Filed 03/18/15 Page 2 of 3 PageID #: 18372




                                        EXHIBIT A

CIVIL ACTION NUMBER                                    CASE NAME
  (listed numerically in
     ascending order)

                           Patricia Wright v. Johnson & Johnson, C.R. Bard, Inc., American Medial
      2:12-cv-02336        Systems, Inc., Boston Scientific Corp, Ethicon, Inc., John Does 1-25
                           Brenda Vaughan v. Johnson & Johnson, Bard, American Medical
      2:12-cv-04993        Systems, Inc., Boston Scientific Corp., John Does 1-25
                           Deborah Henry v. Ethicon, Inc., Johnson & Johnson, Boston Scientific
      2:12-cv-05179        Corp., American Medical Systems, Inc., Bard, John Does 1-25
 Case 2:12-md-02327 Document 1501 Filed 03/18/15 Page 3 of 3 PageID #: 18373




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 18, 2015, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system which will send notification of such filing to the CM/ECF

participants registered to receive service in these member cases.




                                                     /s/Tracy G. Weiss
